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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Marcel Brown
                                Plaintiff,
v.                                                   Case No.: 1:19−cv−04082
                                                     Honorable Lindsay C. Jenkins
City of Chicago, et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 9, 2024:


        MINUTE entry before the Honorable Lindsay C. Jenkins: Jury trial held and
concluded. Jury deliberations began and concluded. The jury unanimously finds as
follows: as to Counts I and II, the jury finds for Plaintiff and against Defendants. The jury
awarded Plaintiff compensatory damages in the amount of $50,000,000. This amount is
comprised of an award in the amount of $10,000,000 for the period of pretrial detention
before Plaintiff's criminal conviction, and $40,000,000 for the period after Plaintiff's
criminal conviction. The jury also awards Plaintiff punitive damages against Defendant
Mancuso in the amount of $50,000. The Court polled the jury. The Court confirmed
unanimity, accepted the verdict, and discharged the jury. At the close of Plaintiff's case,
Defendants orally moved under FRCP 50(a) for judgment as a matter of law and the Court
indicated its intention to take that motion under advisement. As discussed on the record,
Defendants may file any brief by September 16, 2024, and that filing should propose a
briefing schedule. The Court intends to enter judgment as contemplated by FRCP
58(b)(1)(A), but in light of the discussion held on the record, any objection to the Court
doing so must be filed by September 12, 2024. Mailed notice.(jlj, )




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